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                       IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF NEW YORK


SECURITIES AND EXCHANGE COMMISSION,
        Plaintiff,                                               Civil Action No. 1:20-cv-1181
v.
MICHAEL W. ACKERMAN,
        Defendant.
___________________________________________/
     DECLARATION IN SUPPORT OR REQUEST FOR CERTIFICATE OF DEFAULT

        I, Amie Riggle Berlin, counsel for Plaintiff Securities and Exchange Commission in this

case, hereby declare as follows:

        1.      I am an attorney admitted to practice before the courts of the State of New York

and Florida. I currently am Senior Trial Counsel in the Securities and Exchange Commission’s

Miami Regional Office and represent the Securities and Exchange Commission in this matter. I

submit this declaration in support of Plaintiff’s Request for Entry of Default Against Defendant

Michael W. Ackerman.

        2.      This action was commenced on February 11, 2020 [D.E. 1].

        3.      The Commission served Michael W. Ackerman via personal delivery by a process

server on February 25, 2020 [D.E. 7, Certificate of Service].

        4.      The time for defendant Michael W. Ackerman to answer or otherwise move with

respect to the Complaint herein has expired.

        5.      Mr. Ackerman has not answered or otherwise moved with respect to the

Complaint, and the time for Mr. Ackerman to answer or otherwise move has not been extended.

        6.      Mr. Ackerman is not an infant or incompetent.
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        7.      Mr. Ackerman is not presently in the military service of the United States as

appears from facts in this litigation.

        WHEREFORE, plaintiff Securities and Exchange Commission requests that the default

of defendant Michael W. Ackerman be noted and a certificate of default issued.

        I declare under penalty of perjury that the foregoing is true and accurate to the best of my

knowledge, information, and belief, that the relief sought in the Complaint is warranted, and that

the Defendant has not paid any portion of the monetary relief the Commission seeks in this case.

        Executed on June 12, 2020 in Key Biscayne, Florida.



        June 12, 2020                         By:     s/Amie Riggle Berlin
                                                      Amie Riggle Berlin
                                                      Senior Trial Counsel

                                                      Attorney for Plaintiff
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